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A statement on New Orleans and Lee Circle                                                                                        SEARCH


                                                                                       by Michael Hill ,  May 9, 2017            search here                   Search



Our League of the South volunteers stood like the Southern
                                                                                                                                 FEATURED
warriors they are in New Orleans in defense of our people and a
monument to one of our heroes, General Robert E. Lee.
Outnumber by at least 25 to 1 and unarmed by NOPD edict, our                                                                  Understanding the events of today in a historical
Southern Defense Force (SDF), augmented by a few hardy souls                                                                  perspective:
who joined us, was THE opposition to the horde of degenerates
                                                                                                                              The New Red Terror, Part I
(see photo at right)–the army of Satan himself–that marched to
Lee Circle to oppose our sublime civilization.
                                                                                                                              The New Red Terror, Part II

My thanks go out to all these gentlemen of the South who
acquitted themselves like men. I am especially grateful to our N2
                                                                                                                                 RECENT COMMENTS
Security/Intelligence Chief Tiny Malone and CoS and tactical commander of this operation Michael Tubbs.

I could not ask for braver and more honorable compatriots. Gentlemen of the SDF, it was my pleasure to stand
                                                                                                                              Michael Greek on The Cultural Vanguard Strategy
with you against our foe! We were rst to arrive and last to leave! Hail to you and hail victory! May God save the
South!                                                                                                                        Michael Greek on A statement to concerned
                                                                                                                              Southerners
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                                                                                                                              condemn Alt-Right and nationalism
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                                                                   NOLA
                                                                                                                              League of the South uniform items and other
                                                                                                                              accessories for all members may now be purchased
                                                                                                                              at Southern Nationalist Shirts & Patches.
      ABOUT AUTHOR
                                                                                                                                 ARCHIVES
                     Michael Hill
                     Dr Michael Hill is President of the League of the South. He is a retired university professor of           Select Month
                     history and author of two books on Celtic warfare.


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